
984 So.2d 707 (2008)
In re David W. GRONER.
No. 2008-B-1346.
Supreme Court of Louisiana.
June 27, 2008.

ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.[*]
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent engaged in a conflict of interest and engaged in conduct involving dishonesty, fraud, deceit, or misrepresentation. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that David W. Groner, Louisiana Bar Roll number 6349, be and he hereby is suspended from the practice of law for six months. This suspension shall be deferred in its entirety, subject to respondent's successful completion of a one-year period of supervised probation governed by the terms and conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respondent, the ODC, and the probation monitor execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct *708 during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
TRAYLOR, J., would reject consent discipline.
NOTES
[*]  Weimer, J., recused.

